                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *

UNITED STATES OF AMERICA                         *

       v.                                        *                  CRIM. NO. JKB-12-479

GARNETT SMITH,                                   *

       Defendant.                                *

        *      *      *       *       *      *       *      *       *       *      *       *

                                  MEMORANDUM ORDER

       Now pending before the Court are Defendant’s Motion for Reduction of Sentence Under

18 U.S.C. § 3582(c)(2) (ECF No. 219) and Defendant’s Motion to Amend Motion to Reduce

Sentence (ECF No. 223). Both motions are DENIED.

       18 U.S.C. § 3582(c)(2) authorizes a district court to reduce a defendant’s sentence only in

cases in which the guidelines range applicable to the defendant has “been lowered by the

Sentencing Commission.” Defendant identifies Amendment 782 as lowering the applicable

guidelines range.   But, as noted in the government’s opposition (ECF No. 226), because

Defendant’s criminal conduct involved more than 1,000 kilograms of cocaine, Amendment 782

did not affect the guidelines range applicable to Defendant. As such, Defendant is not eligible for

a sentence reduction under 18 U.S.C. § 3582(c)(2).
DATED this 29th day of April, 2020.



                                      BY THE COURT:


                                                        /s/
                                      James K. Bredar
                                      Chief Judge
